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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   4:02CR3049
                              )
          v.                  )
                              )
MAURICE BERRY,                )                       ORDER
                              )
               Defendants.    )
______________________________)


             This matter is before the Court on defendant’s motion

to continue hearing on plaintiff’s request for hearing on Rule

35(b) motion (Filing No. 90).       The Court finds said request

should be granted.      Accordingly,

             IT IS ORDERED that said motion is granted; a hearing on

plaintiff’s Rule 35(b) motion (Filing No. 86) is rescheduled in

OMAHA for:

                  Friday, September 30, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        Defendant need not be

present.

           DATED this 18th day of August, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
